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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  DEMONA FREEMAN,                              )
                                               )
                             Plaintiff,        )
                                               )
                        v.                     )    No. 1:18-cv-03844-TWP-DLP
                                               )
  OCWEN LOAN SERVICING, LLC,                   )
  BANK OF NEW YORK MELLON                      )
    a/k/a BANK OF NEW YORK                     )
    a/k/a BANK OF NEW YORK,                    )
                                               )
                             Defendants.       )


                   MINUTE ENTRY FOR SEPTEMBER 28, 2020
                           STATUS CONFERENCE
                  HON. DORIS L. PRYOR, MAGISTRATE JUDGE


        The parties appeared by telephone for a Status Conference on September 28,

  2020. The parties discussed the status of and future plans for discovery.

        This matter is scheduled for a telephonic status conference on December 2,

  2020 at 1:30 p.m. (Eastern) to discuss case status. Counsel shall attend the status

  conference by calling the designated telephone number, to be provided by the Court

  via email generated by the Court's ECF system.


            Date: 9/29/2020



  Distribution:

  All ECF-registered counsel of record via email
